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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 21-109 (WMW/HB)

 UNITED STATES OF AMERICA,                    )
                                              )
                       Plaintiff,             )
                                              )         JOINT MOTION TO
                v.                            )         CONTINUE TRIAL
                                              )
 DEREK MICHAEL CHAUVIN,                       )
                                              )
                       Defendant.             )
                                              )

        COMES NOW the United States of America, by and through its undersigned

attorneys, Manda M. Sertich, Assistant United States Attorney for the District of

Minnesota, and Samantha Trepel, Special Litigation Counsel for the Civil Rights Division,

and Defendant, by and through his counsel Eric Nelson (together “the parties”),

respectfully move the Court for an Order continuing any trial in this matter until May 1,

2022.

        Defendant is charged in this case with federal civil rights violations stemming from

the arrest of Juvenile 1 on September 4, 2017. Defendant is charged with two counts of

deprivation of rights under color of law, in violation of 18 U.S.C. § 242, for willfully

depriving Juvenile 1 of the right to be free from Defendant’s use of unreasonable force,

resulting in bodily injury.

        Defendant was separately charged with two federal civil rights violations stemming

from the death of George Floyd in police custody on May 25, 2020, in Criminal Case No.

21-108 (PAM/TNL). On December 15, 2021, Defendant pled guilty to Count 1 of that

Indictment, which charged Defendant with using constitutionally unreasonable force on
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May 25, 2020, resulting in the death of Mr. Floyd. Defendant also pled guilty to one count

of an Information in Criminal Case No. 21-108 charging him with using constitutionally

unreasonable force on September 4, 2017, resulting in bodily injury to Juvenile 1. Count

1 of the Information is the same as Count 1 in the case before the Court. As part of the

Plea Agreement, the United States agreed to dismiss the Indictment in this case at the time

of sentencing so long as the Court sentences the Defendant in accordance with the Plea

Agreement.

       Based on the foregoing, the parties respectfully request that the Court continue

setting any trial or additional deadlines in this case until May 1, 2022. Further, in light of

the facts described above and the Defendant’s consent which will be filed separately, the

parties believe that it is in the interest of justice to exclude the time between the filing of

this motion and May 1, 2022. In particular, this will allow time for the sentencing hearing

to take place in Criminal Case No. 21-108, which will in turn likely result in the dismissal

of the present case.


Dated: December 30, 2021                        Respectfully submitted,


 CHARLES J. KOVATS, JR.                               KRISTEN CLARKE
 Acting United States Attorney                        Assistant Attorney General
                                                      Civil Rights Division
 /s/ Manda M. Sertich
 BY: MANDA M. SERTICH                                 /s/ Samantha Trepel
 Assistant U.S. Attorney                              BY: SAMANTHA TREPEL
 Attorney ID No. 4289039 NY                           Special Litigation Counsel
                                                      Attorney ID No. 992377 DC

 /s/ Eric Nelson
 Eric J. Nelson
 Attorney for Derek Chauvin
 Attorney No. 308808

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